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14                       UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
16                                              CASE NO. 2:22-CV-1916-FWS-GJS
       ABDIRAHMAN ADEN KARIYE,
17     et al.,
18                                              DEFENDANTS’ OPPOSITION TO
            Plaintiffs,
19                                                PLAINTIFFS’ MOTION TO
                                                 COMPEL REGARDING LAW
20     v.                                        ENFORCEMENT PRIVILEGE
21     ALEJANDRO MAYORKAS,
22     Secretary of the U.S. Department of
       Homeland Security, in his official
23     capacity, et al.,
24
            Defendants.
25
26
27
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 1                                        INTRODUCTION
 2          Plaintiffs herein move to compel regarding the law enforcement privilege
 3    invoked by Defendants. Specifically, Plaintiffs seek an order from this Court holding
 4    that the law enforcement privilege is not applicable to this case, ordering Defendants
 5    to produce unredacted versions of documents provided to them, and precluding
 6    Defendants from using the law enforcement privilege going forward. ECF No. 118-
 7    1 at 2 (hereinafter “Motion” or “Mot.”). Plaintiffs are wrong on all fronts.
 8          Contrary to Plaintiffs’ assertions, the law enforcement privilege is well-
 9    established and broadly recognized. The privilege guards against the disclosure of
10    information that would reveal sensitive law enforcement methods, techniques, or
11    investigations, and the information redacted and protected by Defendants lies within
12    the heartland of that privilege.
13          Likely recognizing that this privilege does exist, Plaintiffs then argue that they
14    are nonetheless entitled to unredacted versions of materials shielded by the privilege.
15    But Plaintiffs have not described with specificity many of the materials that they
16    seek, and they cannot show a compelling need—as Plaintiffs must—for the limited
17    materials that they do specifically describe to overcome Defendants’ law
18    enforcement privilege assertions over the redacted information. The materials over
19    which Defendants have invoked the privilege relate to records from CBP’s TECS
20    database, the principal system used by CBP officers at the border to assist with
21    screening and determinations regarding the admissibility of arriving persons. Those
22    records, by necessity, contain law enforcement codes and information bearing on
23    Defendants’ law enforcement techniques and processes to carry out their national
24    security and law enforcement missions. Consequently, Defendants have
25    appropriately redacted those codes and information. This is because public
26    disclosure of those codes and information would arm terrorists and adversaries with
27    the knowledge of who would be required to undergo additional screening and who

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 1    would not. Meanwhile, disclosure of law enforcement techniques would self-
 2    evidently allow individuals to circumvent law enforcement in the future. Finally,
 3    Plaintiffs’ technical arguments for why Defendants have not invoked the privilege
 4    are meritless. In particular, Defendants have properly supported their assertion of
 5    the law enforcement privilege with declarations, and the parties’ stipulated
 6    protective order does not lessen or obviate the privilege.
 7          For these reasons, as explained further below, the Court should deny
 8    Plaintiffs’ Motion.
 9                                      BACKGROUND
10          As relevant to the instant opposition, on September 13, 2022, the parties
11    negotiated and agreed to a protective order regarding the disclosure of confidential
12    information to Plaintiffs. See ECF No. 53. The protective order, in establishing good
13    cause, notes that “this action is likely to involve the production of nonprivileged
14    information contained in law enforcement records and communications or produced
15    at a deposition or hearing.” Id. at 2. The protective order further adds that:
16
            [S]ome of this nonprivileged information is likely law-enforcement sensitive
17          and for official use only, in that it may regard such things as law enforcement
18          activities and operations, internal policies, processes and procedures, and
            training materials, all of which may be protected from disclosure under the
19          Freedom of Information Act, 5 U.S.C. § 552(b)(7), or protected from
20          disclosure under other federal law, or which is generally unavailable to the
            public because its disclosure could adversely impact such things as a person’s
21          privacy or welfare or the conduct of programs or operations essential to the
22          national interest, but which a court may order to be produced.

23    Id. (emphasis added). The protective order, however, does not identify what types
24    or categories of information are nonprivileged. It also does not say that law-
25    enforcement sensitive information is entirely nonprivileged. The protective order
26    also identifies confidential information to be protected as “[i]nformation that is
27    otherwise sensitive, but unclassified, which the agency determines is not appropriate

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 1    for public release, and the disclosure of which is reasonably expected to cause harm
 2    to law enforcement interests.” Id. at 4. However, the protective order does not
 3    exclude such information from a claim of privilege.
 4          Since the outset of discovery, Defendants have consistently asserted the law
 5    enforcement privilege over certain materials, both in their responses to Plaintiffs’
 6    discovery requests and in privilege logs explaining what materials have been
 7    withheld from Plaintiffs. See, e.g., Ex. 1 at 21; Ex. 2. However, Plaintiffs have
 8    continued to take the position that this privilege does not exist or is otherwise
 9    nullified by the parties’ protective order. Mot. at 4. Following an April 11 meet and
10    confer where Defendants reiterated their view that the privilege was applicable, id.
11    at 5, Plaintiffs filed the Motion to which Defendants now respond.
12                                STANDARD OF REVIEW
13          Rule 37 of the Federal Rules of Civil Procedure provides that “[a] party
14    seeking discovery may move for an order compelling an answer, designation,
15    production, or inspection” if a party fails to produce or make available for inspection
16    requested documents under Rule 34. Fed. R. Civ. P. 37(a)(3)(B)(iv). On a motion to
17    compel “[t]he moving party bears the initial burden of showing that its discovery
18    request satisfies the relevancy requirements of Rule 26(b)(1).” Tran v. Gore, 2012
19    WL 5427917, *2 (S.D. Cal. Nov. 7, 2012); Gerawan Farming, Inc. v. Prima Bella
20    Produce, Inc., 2011 WL 2518948, *2 (E.D. Cal. June 23, 2011) (same). Thereafter,
21    the party resisting discovery bears the burden of clarifying, explaining, and
22    supporting its objections. DIRECTV, Inc. v. Trone, 209 F.R.D. 455, 458 (C.D. Cal.
23    2002). Should the objecting party raise a claim of privilege and properly support that
24    privilege then this information is protected from disclosure. In re Google RTB
25    Consumer Priv. Litig., 2023 WL 2456787, at *2 (N.D. Cal. Mar. 10, 2023) (“A party
26    claiming that a document or information is privileged or protected from disclosure
27    has the burden to establish that the privilege or protection applies.”).

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 1                                       ARGUMENT
 2       I.     The Law Enforcement Privilege Is Well-Established and Broadly
 3              Recognized.

 4            At the outset, Plaintiffs advance a maximalist position that the law
 5    enforcement privilege does not exist. Plaintiffs’ extreme position is not only contrary
 6    to logic but has been persuasively rejected by caselaw across the country.
 7            The law enforcement privilege is a common law privilege that “has been
 8    recognized in the absence of a statutory foundation.” In re Dep’t of Investigation of
 9    City of New York, 856 F.2d 481, 483 (2d Cir. 1988); see also Ohio Bureau of
10    Workers’ Comp. v. MDL Active Duration Fund, Ltd., 2006 WL 3311514, at *3 (S.D.
11    Ohio Nov. 13, 2006) (describing the law enforcement privilege as “a common law
12    privilege which has been recognized in both state and federal courts” (citing
13    Friedman v. Bache Halsey Stuart Shields, Inc., 738 F.2d 1336, 1341 (D.C. Cir.
14    1984)). The privilege protects “information pertaining to law enforcement
15    techniques and procedures, information that would undermine the confidentiality of
16    sources, information that would endanger witness and law enforcement personnel or
17    the privacy of individuals involved in an investigation, and information that would
18    otherwise interfere with an investigation.” United States v. Matish, 193 F. Supp. 3d
19    585, 597 (E.D. Va. 2016) (modifications omitted, quoting In re City of New York,
20    607 F.3d 923, 944 (2d Cir. 2010)). That includes information the disclosure of which
21    would impair “the ability of a law enforcement agency to conduct future
22    investigations[.]” In re City of New York, 607 F.3d at 944; see also Commonwealth
23    of Puerto Rico v. United States, 490 F.3d 50, 64 (1st Cir. 2007) (upholding the FBI’s
24    assertion of the law enforcement privilege); United States v. Lang, 766 F. Supp. 389,
25    404 (D. Md. 1991) (granting a motion to quash based on law enforcement principles,
26    because the documents “would reveal what the SEC knows about the activity under
27    investigation and what portions of that activity it feels are important”).

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 1          Indeed, cases across the Ninth Circuit have recognized the importance of the
 2    privilege, which is “based on the harm to law enforcement efforts which might arise
 3    from public disclosure of investigatory files.” United States v. City of Los Angeles,
 4    2023 WL 6370887, at *8 (C.D. Cal. Aug. 28, 2023) (collecting cases); see also, e.g.,
 5    Doe 1 v. McAleenan, 2019 WL 4235344, at *7 (N.D. Cal. Sept. 6, 2019); Shelley v.
 6    Cnty. of San Joaquin, 2015 WL 3507412, at *3 (E.D. Cal. June 3, 2015); Jones v.
 7    United States, 2014 WL 12853504, at *2 (C.D. Cal. Mar. 10, 2014).
 8          In fact, “the reasons for recognizing the law enforcement privilege are even
 9    more compelling” when “the compelled production of government documents could
10    impact highly sensitive matters relating to national security.” In re U.S. Dep't of
11    Homeland Sec., 459 F.3d 565, 569 (5th Cir. 2006). As the attached declaration of
12    the acting Director of the Threat Screening Center (“TSC”), Steven L. McQueen,
13    McQueen demonstrates, the law enforcement privilege here is essential to “prevent
14    harm to law enforcement interests and national security.” Ex. 3 ¶ 12 (emphasis
15    added) (“McQueen Decl.”).
16          Against this weight of authority, Plaintiffs cite a single case that rejected the
17    law enforcement privilege’s existence without any reasoning or explanation, see
18    United States v. Rodriguez-Landa, 2019 WL 653853, at *16 (C.D. Cal. Feb. 13,
19    2019), and note that the Ninth Circuit has “yet to recognize or reject a ‘law
20    enforcement privilege,’” Shah v. Dep’t of Just., 714 F. App’x 657, 659 n.1 (9th Cir.
21    2017). But the overwhelming weight of caselaw above trumps Rodriguez-Landa’s
22    ill-considered finding, and even the Ninth Circuit has recognized that “several other
23    circuits ha[d] adopted [a law enforcement] privilege” and so decided to apply the
24    privilege, albeit without definitively holding that the privilege exists. Id. Plaintiffs’
25    other cited cases did not reject the privilege’s existence and only found that the
26    privilege did not apply in that instance because the defendants there had not carried
27    their burden. See Est. of Solis v. Cnty. of Riverside, 2024 WL 4783819, at *9 (C.D.

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 1    Cal. Sept. 19, 2024); Hereford v. City of Hemet, 2023 WL 6813740, at *17 (C.D.
 2    Cal. Sept. 14, 2023).
 3             At bottom, an overwhelming number of courts, both within the Ninth Circuit
 4    and around the country, have repeatedly found that the law enforcement privilege
 5    exists. See In re City of New York, 607 F.3d at 942 (holding that
 6    the law enforcement privilege is “grounded in well-established doctrine and is
 7    widely recognized by federal courts”).
 8       II.       Defendants Properly Invoked the Law Enforcement Privilege in This
 9                 Case.

10             Perhaps recognizing that their maximalist position goes too far, Plaintiffs
11    argue in the alternative that, for a potpourri of reasons, even if the law enforcement
12    privilege exists (which it does), the privilege does not apply to this case. None of
13    their arguments for this position are persuasive.
14             First, Plaintiffs argue that the protective order prevents Defendants from
15    asserting the law enforcement privilege. Mot. at 7-8. But the protective order’s own
16    terms indicates that it was meant to govern “non-privileged information.” ECF No.
17    53 at 2 (emphasis added). This limitation reflects the common-sense notion that
18    privileged material is “not discoverable, regardless of the existence of a protective
19    order prohibiting public disclosure of discovery materials marked ‘confidential.’”
20    Garcia v. City of Garden Grove, 2016 WL 9107424, at *1 (C.D. Cal. Oct. 26, 2016);
21    Powell v. Town of Sharpsburg, 2008 WL 11378867, at *3 (E.D.N.C. June 23, 2008)
22    (similar).
23             This is particularly true with privileged law enforcement information, which
24    is ill-suited for disclosure under a protective order. “[I]f confidential law
25    enforcement information is disclosed on an ‘attorneys’ eyes only’ basis, the police
26    may never know if their undercover operations have been compromised by an
27    unauthorized disclosure of that information.” In re City of New York, 607 F.3d at

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 1    936.1
 2            With respect to the information at issue in this case, “release of the law
 3    enforcement sensitive information described in this declaration, in any form, even
 4    under an attorney’s eyes only protective order, poses far too great a risk to national
 5    security.” McQueen Decl. ¶ 14.; see, e.g., Manning v. Dep’t of Justice, 234 F. Supp.
 6    3d 26, 36 (D.D.C. 2017) (stating that the Executive Branch’s “predictive judgments
 7    of harm” from the release of law enforcement information are “entitled to deference”
 8    especially where they concern “matters of national security”).
 9            Second, Plaintiffs assert that Defendants have failed to provide a declaration
10    “by the head of the department with control over the requested information.” Mot.
11    at 9 (quoting Hereford, 2023 WL 6813740, at *11). But Defendants “had no
12    obligation to formally invoke the privilege in advance of the motion to compel.” Tri-
13    State Hosp. Supply Corp. v. United States, 226 F.R.D. 118, 134 n.13 (D.D.C. 2005);
14    see also In re Sealed Case, 121 F.3d 729, 741 (D.C. Cir. 1997) (“Nor did the White
15    House have an obligation to formally invoke its privileges in advance of the motion
16    to compel.”); Maria Del Socorro Quintero Perez, CY v. United States, 2016 WL
17    362508, at *3 (S.D. Cal. Jan. 29, 2016) (finding that government did not waive law
18    enforcement privilege assertion by submitting declaration for the first time in
19    response to a motion to compel); United States v. Arora, 2018 WL 3429915, *1-*2
20
21            1
               Plaintiffs’ cited cases that supposedly support the proposition that the
22    privilege cannot be invoked where there is a protective order do not go so far as
      Plaintiffs represent. See Conan v. City of Fontana, 2017 WL 2874623, at *5 (C.D.
23
      Cal. July 5, 2017) (rejecting the application of the privilege because “the declaration
24    submitted on behalf of Defendants only provide[d] general assertions of harm”);
      MacNamara v. City of New York, 249 F.R.D. 70, 91 (S.D.N.Y. 2008) (determining
25
      disclosure was appropriate after balancing the parties’ interests and assuaging
26    concerns with the court’s ruling by pointing to the ability to invoke protective orders
      to limit disclosure); see also In re Anthem, Inc. Data Breach Litig., 236 F. Supp. 3d
27
      150, 167 (D.D.C. 2017) (same)
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 1    (D.N.M. July 17, 2018) (finding that agency official may assert deliberative process
 2    privilege at time of response to discovery request and considering substance of
 3    agency declaration provided after filing of motion to compel); Solis v. New China
 4    Buffet No. 8, Inc., 2011 WL 2610296, *2 (M.D. Ga. July 1, 2011) (“The formal
 5    invocation of the [government] privilege, . . . need not come until the Government
 6    is faced with a motion to compel.”). And Defendants have met any requirements to
 7    invoke the privilege by providing the two declarations attached to this opposition to
 8    Plaintiffs’ motion. See generally McQueen Decl.; Ex. 4 (“Holtzer Decl.”). Indeed, a
 9    rule requiring a declaration contemporaneous to any assertion of the law
10    enforcement privilege would be unworkable, given that the privilege may be invoked
11    in the middle of a deposition. See City of Los Angeles, 2023 WL 6370887, at *11
12    (C.D. Cal. Aug. 28, 2023).
13          Third, Plaintiffs dismiss the privilege explanations provided in Defendants’
14    privilege logs as insufficient to uphold the law enforcement privilege. But of course,
15    assertions of privilege are judged based on the more detailed justifications provided
16    in declarations to support the privilege, not on the shorter descriptions of the
17    privilege provided in privilege logs. Plaintiffs seem to recognize as much, citing
18    cases that evaluate agency declarations filed in support of the law enforcement
19    privilege. See, e.g., Roman v. Wolf, 2020 WL 6588399, at *2 (C.D. Cal. July 16,
20    2020) (considering the justifications provided in a declaration).
21          Here, Defendants have provided two declarations in support of the law
22    enforcement privilege. 2 See generally McQueen Decl.; Holtzer Decl. The
23
24          2
              To the extent that Plaintiffs might complain that declarations were not
      provided by the appropriate agency official, they are mistaken. Deputy Director
25
      McQueen is currently the acting Director of the TSC, McQueen Decl. ¶ 1, and
26    “multiple other courts have held that the law enforcement/investigative privilege
      may be invoked by ‘an appropriate agency official’ instead of a department head.”
27
                                                          (footnote cont’d on next page)
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 1    declaration of Steven L. McQueen, acting Director of the TSC, explains the risk of
 2    disclosure—of the information that Plaintiffs seek—to law enforcement,
 3    counterterrorism investigations, and intelligence efforts. McQueen Decl. ¶ 10.
 4    Similarly, Defendants have also provided the declaration of Executive Director for
 5    Operations, at CBP, Christopher R. Holtzer, which explains how individuals could
 6    thwart CBP’s enforcement efforts if certain information in the TECS records were
 7    disclosed. Holtzer Decl. ¶¶ 12-13. These agency declarations provide more than the
 8    “mere conclusory or ipse dixit assertions” that are insufficient to claim the privilege.
 9    MacNamara v. City of New York, 249 F.R.D. 70, 79 (S.D.N.Y. 2008) (quotation
10    omitted).
11       III.     Plaintiffs Cannot Show that Their Need for Withheld Material
12                Outweighs the Assertion of the Law Enforcement Privilege.

13          Once the law enforcement privilege is determined to apply, “the district court
14    must balance the public interest in nondisclosure against ‘the need of a particular
15    litigant for access to the privileged information.”’ In re New York City, 607 F.3d at
16    948 (quoting In re Sealed Case, 856 F.2d 268, 272 (D.C. Cir. 1988)); see also
17    McAleenan, 2019 WL 4235344, at *3.
18          And to overcome the privilege, a litigant’s need must be “compelling.” Id.;
19    see also Dellwood Farms v. Cargill, Inc., 128 F.3d 1122, 1125 (7th Cir. 1997)
20    (applying a “strong presumption against lifting the privilege”); In re United
21    Telecommunications, Inc. Sec. Litig., 799 F. Supp. 1206, 1208 (D.D.C. 1992) (law
22    enforcement privilege “can be overcome if there is a compelling need for the
23    information”); McAleenan, 2019 WL 4235344, at *6 (law enforcement privilege
24    overcome because “plaintiffs have demonstrated a critical need” for the
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      City of Los Angeles, 2023 WL 6370887, at *9; see also Landry v. F.D.I.C., 204 F.3d
26    1125, 1136 (D.C. Cir. 2000) (permitting declarations by “declarants of “sufficient
      rank to achieve the necessary deliberateness in assertion of the . . . law enforcement
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      privilege[]”).
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 1    information). In other words, “[i]t is not enough that the information might be of
 2    ‘some assistance’” to the party seeking it.3 Ayala v. City of New York, 2004 WL
 3    2914085, at *1 (S.D.N.Y. Dec. 16, 2004).
 4       A. Plaintiffs have not shown—and plainly cannot show—a “compelling
 5          need” for information that they do not specifically describe.

 6          As noted above, in order to overcome the law enforcement privilege, a party
 7    must show a “compelling” need for that information that outweighs the “the public
 8    interest in nondisclosure.” In re New York City, 607 F.3d at 948. This requires the
 9    party seeking to overcome the privilege to explain and to describe the specific piece
10    of information that the party seeks and why that party’s need for the information is
11    compelling.
12          Plaintiffs do not meet that standard with boilerplate arguments that they have
13    a significant need “for the redacted material” as a whole, Mot. at 11, or for “complete
14    answers to all interrogatories,” id. at 15. Plaintiffs do not specifically describe which
15    redactions or interrogatories they are disputing, why any information already
16    provided is (in their view) inadequate, or why their need for more information is
17    compelling” or “critical.” In re New York City, 607 F.3d at 948. Without any such
18    precise description, it is impossible for any court to determine whether Plaintiffs’
19    need is “compelling” or “critical” or to do any rigorous balancing of the public
20    interest in non-disclosure with Plaintiffs’ interest in the information.
21          Indeed, as Plaintiffs’ arguments elsewhere in their Motion demonstrate, they
22    seek different information for different reasons. See Mot. at 13-14. But for a court
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24          3
              Plaintiffs’ language supporting a “balancing approach that is moderately pre-
      weighted in favor of disclosure,” Mot. at 11, comes from a case concerning the
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      “official information privilege,” not the law enforcement privilege, Kelly v. City of
26    San Jose, 114 F.R.D. 653, 661 (N.D. Cal. 1987). The law enforcement and national
      security considerations involved here justify a higher bar for disclosure of privileged
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      information.
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 1    to weigh Plaintiffs’ reasons against Defendants’ law enforcement and national
 2    security interests, Plaintiffs must at a minimum specify the precise information they
 3    seek, the reasons they seek it, and why that information cannot be found elsewhere.
 4          Plaintiffs’ generic arguments do not even meet their lesser burden on a motion
 5    to compel to “both identify specifically the portions of the responses that are
 6    inadequate, and explain, at least briefly, what is missing or what kind of information
 7    would be necessary to make the response adequate.” Gerawan Farming, 2011 WL
 8    2518948, at *2. Plaintiffs’ carte blanche ask to have Defendants to provide complete
 9    answers to all interrogatories does not satisfy that requirement.
10          Similarly unpersuasive is Plaintiffs’ argument that the law enforcement
11    privilege is overcome because some of the records date from several years ago and
12    “there is no indication that Defendants are investigating Plaintiffs in this matter.”
13    Mot. at 12. As an initial matter, whether any individual is currently under federal
14    investigation is itself privileged. For instance, information—including any found in
15    TECS records—on whether an individual is in the Terrorist Screening Dataset
16    (“TSDS”) is law-enforcement privileged. McQueen Decl. ¶¶ 9, 11. But more
17    generally, “[a]n investigation need not be ongoing for the law enforcement privilege
18    to apply as the ability of a law enforcement agency to conduct future investigations
19    may be seriously impaired if certain information is revealed.” City of Los Angeles,
20    2023 WL 6370887, at *8; see also In re City of New York, 607 F.3d at 944; Tennison
21    v. City & Cnty. of San Francisco, 2005 WL 1639447, at *3 (N.D. Cal. July 13, 2005)
22    (“[A]n investigation need not be ongoing in order for the privilege to apply.”); Nat’l
23    Cong. for Puerto Rican Rts. ex rel. Perez v. City of New York, 194 F.R.D. 88, 95
24    (S.D.N.Y. 2000).
25          The specific facts of this case make clear why such an arbitrary time limitation
26    on the law enforcement privilege would be inappropriate. Disclosure of the
27    information discussed in the McQueen Declaration “would arm terrorists with the

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 1    knowledge” that could allow them to “evade enhanced security screening,”
 2    regardless the existence of any ongoing investigation. McQueen Decl. ¶ 11. And
 3    more generally, public disclosure of law enforcement methods and techniques would
 4    allow individuals to circumvent law enforcement, again regardless the existence of
 5    any ongoing investigation. See Holtzer Decl. ¶¶ 12-13.
 6          In short, the government’s interest in keeping these materials redacted remains
 7    weighty, and Plaintiffs have not shown that they have a compelling need for the
 8    information that Defendants have withheld thus far in the litigation.
 9       B. Plaintiffs have not shown a compelling need for the specific information
10          and records that they do discuss.

11          Plaintiffs do discuss some specific information that they seek: 1) the “text in
12    the free-text fields of the TECS Reports”; 2) three specific fields in TECS records:
13    “Create Incident Log,” “Incident Log Report #,” and “Create EMR”; 3) a separate
14    TECS field concerning “whether the ‘Chief Council’ was notified”; 4) TECS fields
15    that “reveal the reasons Plaintiffs were sent to secondary inspections”; and 5)
16    information that was disclosed through FOIA but withheld as privileged in this case.
17    Mot. at 13-14. Defendants have determined that, consistent with the law enforcement
18    privilege, they can release to Plaintiffs the TECS field concerning whether the Chief
19    Counsel was notified. Holtzer Decl. ¶ 14. But Plaintiffs provide no “compelling
20    need” for the other information that they seek.
21          First, Plaintiffs argue that “Defendants must disclose the text in the free-text
22    fields of the TECS Reports.” Mot. at 13. Plaintiffs argue that “[t]his text is highly
23    probative because it is the only place where Defendants recount their encounters
24    with Plaintiffs.” Id. But much of these free-text fields are already disclosed to
25    Plaintiffs. See, e.g., ECF No. 108-11 at 3; Ex. 5. As Exhibit 5 attached shows,
26    Defendants have released to Plaintiffs information that is most relevant to their
27    claims regarding religious questioning: the substance of the questions that

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 1    Defendants asked Plaintiffs and Plaintiffs’ responses.
 2          The information that Defendants did redact under the law enforcement
 3    privilege is narrowly tailored and justified by the weighty interest in not disclosing
 4    law enforcement sensitive techniques. Holtzer Decl. ¶ 9. Moreover, a subset of the
 5    redactions is additionally justified because the information’s release “could
 6    reasonably be expected to risk circumvention of law and cause harm to national
 7    security.” McQueen Decl. ¶¶ 9-10. Defendants have thus disclosed to Plaintiffs
 8    significant information in these fields that they can use to support their claims—
 9    including information that is the most relevant to Plaintiffs’ claims—and Plaintiffs
10    do not explain in their Motion why they believe the information already disclosed is
11    insufficient or what their “compelling need” is for more.
12          Second, Plaintiffs argue that “Defendants must disclose” three TECS fields
13    that would “enable Plaintiffs to effectively pursue discovery.” Mot. at 13-14. Once
14    again, Plaintiffs are asking for the disclosure of information that is law enforcement
15    privileged. Holtzer Decl. ¶¶ 7-8.
16          And their rationale for this disclosure is even less compelling as Plaintiffs
17    argue that “[w]ithout this information, Plaintiffs cannot determine whether they have
18    received all discovery they are due.” Mot. at 14. This argument is not specific to
19    Plaintiffs’ claims and effectively asks for discovery to probe known unknowns
20    without a showing of relevance. That is not how discovery works. In discovery,
21    “[s]ome threshold showing of relevance must be made before parties are required to
22    open wide the doors of discovery and to produce a variety of information which does
23    not reasonably bear upon the issues in the case.” Voggenthaler v. Maryland Square,
24    2011 WL 112115, at *8 (D. Nev. Jan. 13, 2011) (quoting Hofer v. Mack, Trucks,
25    Inc., 981 F.2d 377, 380 (8th Cir. 1993)). And “[d]istrict courts need not condone the
26    use of discovery to engage in fishing expeditions.” Rivera v. NIBCO, Inc., 364 F.3d
27    1057, 1072 (9th Cir. 2004) (cleaned up).

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 1          Third, Plaintiffs argue that “Defendants must disclose the portions of the
 2    TECS Reports that reveal the reasons Plaintiffs were sent to secondary inspection”
 3    and specify several fields that they believe contain this information. Mot. at 14. But
 4    this is again tangential to the core issue in the case: whether Defendants allegedly
 5    have an official policy or practice of discriminatory religious questioning. Plaintiffs’
 6    claims concern “religious questioning during secondary inspections,” Am Compl.,
 7    ECF No. 61 ¶ 206, but they have not claimed that they were discriminatorily selected
 8    for secondary inspections.
 9          Further, the specific reasons why any individual is sent to secondary
10    inspection lie at the core of the law enforcement privilege. As a general matter,
11    revealing the reasons that CBP referred Plaintiffs to secondary inspection “would
12    enable individuals to alter their patterns of conduct, adopt new methods of operation,
13    and effectuate other countermeasures to circumvent the inspection process and
14    undermine law enforcement techniques, and, consequently, the law.” Holtzer Decl.
15    ¶ 12. Further, as explained in the McQueen Declaration, this information “could
16    reasonably be expected to risk circumvention of law and cause harm to national
17    security.” McQueen Decl. ¶¶ 9-10. In particular, the information “could allow U.S.
18    adversaries to deduce and/or identify law enforcement sensitive sources and/or
19    methods” and “would also compromise ongoing counterterrorism investigations and
20    intelligence efforts.” Id. ¶¶ 11, 13. Defendants’ law enforcement and national
21    security concerns are thus exceptionally high, and courts have repeatedly approved
22    Defendants’ need to withhold this type of information. “Disclosure [of this type of
23    information] would disrupt and potentially destroy counterterrorism investigations
24    because terrorists could alter their behavior, avoid detection, and destroy evidence.”
25    Elhady v. Kable, 993 F. 3d 208, 2015 (4th Cir. 2021).
26          Fourth, Plaintiffs argue that “Defendants must disclose all information in the
27    TECS Reports that has been made available to Plaintiffs through Freedom of

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 1    Information Act [FOIA] requests,” chiefly noting discrepancies in redactions
 2    between materials Plaintiffs received through FOIA and in materials produced in
 3    discovery. Mot. at 14. However, to the extent that any redactions were incorrectly
 4    applied in prior FOIA materials, Defendants should not be required to repeat the
 5    incorrect redactions in discovery and can appropriately provide new redactions in
 6    discovery. Holtzer Decl. ¶ 15. In any event, compelled disclosure of duplicative
 7    information is pointless here. Plaintiffs already have the materials through FOIA and
 8    there is no basis for the Court to require production of the same information again.
 9                                     CONCLUSION
10          For the foregoing reasons, Defendants respectfully request that the Court
11    deny Plaintiffs’ Motion to Compel regarding the law enforcement privilege.
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13
14    Dated: June 2, 2025
15                                           Respectfully submitted,
16
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